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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
SARAH BRANNEN, LINDSAY
DURTSCHI, on behalf of herself and
her minor children, BENJAMIN
GLASS, on behalf of himself and his
minor child, GEORGE M.
JOHNSON, DAVID LEVITHAN,
KYLE LUKOFF, ANN
NOVAKOWSKI, on behalf of herself
and her minor child, PENGUIN
RANDOM HOUSE LLC, SEAN
PARKER, on behalf of himself and
his minor child, ASHLEY HOPE
PÉREZ, ERICA ROY, on behalf of
herself and her minor children,            CASE NO.: 3:23-CV-10385-TKW-ZCB
CHRISTOPHER SCOTT
SATTERWHITE, on behalf of
himself and his minor child, and
CARIN SMITH on behalf of herself
and her minor children,

         Plaintiffs,

vs.

ESCAMBIA COUNTY SCHOOL
BOARD,

         Defendant.
                                       /

                     DEFENDANT’S DISPOSITIVE
               MOTION TO DISMISS AMENDED COMPLAINT
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         Defendant, Escambia County School Board (“Board”), hereby files its

Dispositive Motion to Dismiss Plaintiffs’ Amended Complaint, [D.E. 27

(“Complaint” or “Compl.”)], and in support thereof states:

   I.       INTRODUCTION AND BACKGROUND

         Plaintiffs allege the Board decided “to remove and restrict books” from its

libraries “based on its disagreements with the ideas expressed in those books,”

actions which Plaintiffs claim “have disproportionately targeted books by or about

people of color and/or LGBTQ people,” thus prescribing an “orthodoxy of opinion

that violates the First and Fourteenth Amendments.” Compl. at pp.1-2. Plaintiffs

erroneously build their arguments on “a faulty foundation.” Am. Civ. Liberties Union

of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd., 557 F.3d 1177, 1218 (11th Cir. 2009)

(“ACLU”). The Board has not banned any books, rather it “removed from its own

school libraries [books] that the Board had purchased for those libraries with Board

funds. It [has] not prohibit[ed] anyone else from owning, possessing, or reading the

book[s].” Id. This violates no constitutional protection.

         Such terms—or their linguistic fellows—“do[] not apply where a school

district, through its authorized school board, decides not to continue possessing [a]

book on its own library shelves. The School Board is the entity that has the ultimate

authority to decide what books will be purchased and kept on the shelves of the

schools in the district.” Id. (emphasis added) (first citing § 1001.32(2), Fla. Stat.;


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and then citing id. § 1006.28(1)(d)). To the extent Plaintiffs claim First and

Fourteenth Amendment violations prior to July 1, 2023, they overlook the Board’s

“ultimate authority” to determine which books to make available to the students

within the Escambia County School District (“District”). Id.

      Plaintiffs consist of: (1) a nonprofit organization (“Nonprofit Plaintiff”); (2)

authors who are members of the Nonprofit Plaintiff and whose books have been

subject to action by the Board (“Author Plaintiffs”); (3) a book publisher (“PRH”);

and (4) seven parents of ten students who attend schools within the District, who

bring suit on behalf of themselves and their minor children (“Parent Plaintiffs”).

Plaintiffs’ claims are:

      1. Count I - Viewpoint Discrimination under the First Amendment, brought
      by the Nonprofit Plaintiff, Author Plaintiffs, and PRH;
      2. Count II - Right to Receive Information under the First Amendment,
      brought by the Parent Plaintiffs on their behalf and on behalf of their children;
      and
      3. Count III - Equal Protection Clause of the Fourteenth Amendment, on
      behalf of the Nonprofit Plaintiff, Author Plaintiffs, and the Parent Plaintiffs,
      both on their behalf and on behalf of their children.

Plaintiffs’ Complaint fails for numerous reasons: (1) it is a prohibited shotgun

pleading; (2) legislative changes are fatal to the Parent Plaintiffs’ claims and those

of their children; (3) all Plaintiffs lack standing; (4) the actions taken by the Board

qualify as government speech, precluding Plaintiffs’ claims; (5) the aforementioned

legislative changes preclude Monell liability for claims by the Parent Plaintiffs and


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their children; (6) the Parent Plaintiffs and their children’s claims are now partly

moot and (7) partly unripe. Finally, even if Plaintiffs overcome these deficiencies,

they nevertheless: (8) fail to state a claim for a purported “right” to receive

information from a public school library in Count II; and (9) fail to state a claim

under the Equal Protection Clause in Count III. Plaintiffs’ Complaint should be

dismissed and, where stated, dismissal should be with prejudice as leave to amend

would be futile.
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    II.      STATEMENT OF THE ALLEGED FACTS

          Plaintiffs’ Complaint centers on actions taken by the Board under its policy—

one required by Florida law—regarding objections to materials contained within its

schools’ libraries. Plaintiffs claim the Board is ordering books to be removed or

restricted “based on ideologically-driven efforts to push certain ideas out of school.”

Compl. at ¶ 4. Plaintiffs allege the Board’s actions, in purportedly “seek[ing] to

remove or limit access to books a small minority views as too ‘woke’” “run afoul of

the First Amendment” and also “violate the Equal Protection Clause because the

books singled out for possible removal are disproportionately books by non-white

and/or LGBTQ authors, or which address topics related to race or LGBTQ identity.”

Id. at ¶¶ 6-7.



1
 The Board accepts, as it must, the veracity of Plaintiffs’ allegations for the purposes
of this Motion only.
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      Plaintiffs are a nonprofit organization, authors whose books have been subject

to Board action, a book publisher, and parents of students attending schools in the

District. Id. at ¶¶ 10-31. Plaintiffs bring this action pursuant to 42 U.S.C. § 1983

under the First and Fourteenth Amendment. Id. at ¶ 34. Plaintiffs inconsistently seek

injunctive relief, see id. at § VI (Prayer for Relief), but limit their challenges to the

“actions undertaken by the School Board prior to implementation of the [Board’s]

new rules/procedures,” in response to changes in Florida law that became effective

July 1, 2023. Id. at ¶ 69 n.4; see also Ch. 2023-105, Laws of Fla. The Complaint

alleges these actions “began on or about May 23, 2022.” Compl. at ¶ 42. It is

incongruous to seek injunctive relief when the very process Plaintiffs seek to enjoin

has been superseded by intervening legislation.

      Plaintiffs focus their allegations on the efforts of one individual employed by

the Board—but who is not a member of the Board, nor does she speak for, represent,

or in any way bind the Board—who is active in challenging materials within the

District’s libraries and whose efforts have led to either the removal or restriction of

various books which were found to run afoul of Board policy. See id. at ¶¶ 42-108.

Plaintiffs claim books have been removed or restricted based on viewpoint, as

purportedly apparent based on general themes Plaintiffs allege are common to these

materials. Id. at ¶¶ 109-60. Plaintiffs also state the Board has “been focused

disproportionately on minority and LGBTQ authors” as for removed or restricted


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books. Id. at ¶¶ 161-69. Plaintiffs broadly categorize the books they seek restored to

library shelves as either “Removed Books,” or “Targeted Books,” id. at ¶¶ 104-05,

depending on the current level of restriction.

      As a result, Plaintiffs claim the Board’s actions have either denied or chilled

efforts by students to read these materials. Id. at ¶¶ 170-94. Plaintiffs allege various

injuries and bring suit under the First Amendment, claiming viewpoint

discrimination and violation of the purported right to receive information, and under
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the Fourteenth Amendment, claiming an equal protection violation. Id. at ¶¶ 195-

210, 215-40. For relief, Plaintiffs request:

          1. Injunctive relief requiring the Board to restore the so-called “Removed
          Books” to be accessible within the District’s libraries;
          2. Injunctive relief requiring the Board to restore the so-called “Targeted
          Books” to be accessible within the District’s libraries; and
          3. Costs and fees pursuant to 42 U.S.C. § 1988, and any other relief the
          Court orders.
Id. at § VI.A.-D. (Prayer for Relief). Plaintiffs concede that, pursuant to legislative

changes effective July 1, 2023, and as now codified in Board policy, “it is not clear

what materials will be challenged and removed under the revised [Board policy], or

how the rule will be put into practice.” Id. at ¶¶ 211-14. Despite these concessions,




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  Because no books have been “banned,” Plaintiffs’ claims presuppose a
constitutional right to have the challenged materials provided to them by the Board.
This is not the law.
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Plaintiffs still claim “their challenge to the removals and restrictions encompassed

in the [Complaint] remains ripe for review.” Id. at ¶ 214 n.11.

   III.   MEMORANDUM OF LAW

             A.     Standard of Review

      In order “[t]o survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “Threadbare recitals of the elements of a cause

of action, supported by mere conclusory statements, do not suffice,” and “only a

complaint that states a plausible claim for relief survives a motion to dismiss.” Id. at

678-79. Granting a motion to dismiss is appropriate if it is clear “no relief could be

granted under any set of facts that could be proved consistent with the allegations.”

Hishon v. King & Spalding, 467 U.S. 69, 73 (1984). A complaint’s allegations are

construed “as true and in the light most favorable to the plaintiff.” Lowell v. Am.

Cyanamid Co., 177 F.3d 1228, 1229 (11th Cir. 1999). Where a plaintiff cannot state

a cause of action and allowing amendment would be futile, claims may be dismissed

with prejudice. See Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001).

             B.     The Complaint Is an Impermissible Shotgun Pleading

      The Complaint should be dismissed because it is a quintessential “shotgun

pleading,” in violation of Rules 8 and 10(b) of the Federal Rules of Civil Procedure.


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“Complaints that violate either Rule 8(a)(2) or Rule 10(b), or both, are often

disparagingly referred to as ‘shotgun pleadings.’” Weiland v. Palm Beach Cnty.

Sheriff’s Off., 792 F.3d. 1313, 1320 (11th Cir. 2015). The Eleventh Circuit has

identified four rough categories of shotgun pleadings: (1) a complaint containing

multiple counts adopting the allegations of all preceding counts; (2) a complaint

filled with conclusory, vague, and immaterial facts not connected to any particular

cause of action; (3) a complaint that does not separate into a different count each

cause of action or claim for relief; and (4) a complaint that asserts multiple claims

against multiple defendants without specifying which of the defendants are

responsible for which acts or omissions. Id. at 1321-23. The Complaint runs afoul

of each prohibition applicable to this single defendant case.

      Count I expressly incorporates the preceding 214 paragraphs, and consists of

multiple distinct claims, because the Nonprofit Plaintiff purports to bring suit on
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behalf of itself, and as an association on behalf of its members. Compl. at ¶ 10.

Count II does not expressly but implicitly incorporates the preceding 222 paragraphs




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 The same is true for Count III, which the Nonprofit Plaintiff also claims to bring
on behalf of itself and its members.


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and consists of 17 distinct claims. Count III expressly incorporates the preceding

230 paragraphs, and again consists of numerous distinct claims.

      Because each of the three counts are based on a different conglomeration of

Plaintiffs, many of the incorporated allegations are irrelevant and immaterial to the

claim. “[I]t is exceedingly difficult, if not impossible to know which allegations

pertain to that count (according to its label), to separate the wheat from the chaff.”

Keith v. DeKalb Cnty., 749 F.3d 1034, 1045 n.39 (11th Cir. 2014). This is

particularly prejudicial here because of the different hurdles each of the different

Plaintiff classes face in establishing standing.

      Finally, the Complaint does not separate out a single claim for relief, instead

presenting an omnibus prayer for relief for all three claims. Compl. at § VI.

             C.     Section 1006.28, Florida Statutes, Is Fatal to the Parent
                    Plaintiffs’ Claims

      Succinctly stated, the recently enacted section 1006.28, Florida Statutes,

dooms the Parent Plaintiffs’ claims. As the Complaint acknowledges, House Bill

1069 (2023) (“HB 1069”), as codified in Chapter 2023-105, Laws of Florida,
                                                   5
amended section 1006.28, effective July 1, 2023. Compl. at ¶ 211. These changes


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  Which includes claims brought by the Parent Plaintiffs on behalf of their ten
unidentified minor Plaintiffs. Compl. at ¶¶ 24-31.
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  Unless otherwise noted, all references to section 1006.28 are to the version
effective July 1, 2023.


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reshape any analysis of challenges to library materials and conclusively thwart the

Parent Plaintiffs’ efforts to obtain injunctive relief to enjoin a process that no longer

exists.

          First, the statutory provision indisputably applies to the types of books that

are the subject of this lawsuit. Section 1006.28(2)(a)1. states, “[e]ach district school

board is responsible for the content of all instructional materials and any other

materials used in a classroom, made available in a school or classroom library, or

included on a reading list . . . .” (emphases added). The distinction between

instructional materials and “any other materials” is key, as the statute confines its

definition of “instructional materials” to this term’s definition in section 1006.29,

Florida Statutes, see § 1006.28(1)(a)2., Fla. Stat., which does not generally include

library materials. See id. § 1006.29(2). But school boards, as a “specific dut[y] and

responsibilit[y],” are responsible for both instructional materials and “any other
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materials . . . made available in a school . . . library.” Id. § 1006.28(2)(a)1. The

inclusion of “any other materials” cannot be overlooked as courts “must not read any

provision, or even any word, of a statute so as to make it superfluous, and must

instead give effect to every clause and word of a statute, avoiding any construction

which implies that the legislature was ignorant of the meaning of the language it




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    This duty also existed in the 2022 version of the statute.
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employed.” United States v. Focia, 869 F.3d 1269, 1283 (11th Cir. 2017) (cleaned

up). To the extent the Florida Legislature differentiated between instructional

materials and any other materials made available in school libraries, the plain

language of section 1006.28 unmistakably extends to any materials within a school

library.

       The statute further provides that each school board “must adopt a policy

regarding an objection . . . to the use of a specific material, which clearly describes

a process to handle all objections and provides for resolution.” § 1006.28(2)(a)2.,

Fla. Stat. “The process must provide [the objector] the opportunity to proffer

evidence to the district school board that . . . [a]ny material . . . made available in a

school . . . library . . . contains content which [falls within enumerated categories of
                                                 7
prohibited material].” Id. § 1006.28(2)(a)2.b. Again, the Legislature’s choice of

language shows a school board’s objection process must contemplate challenges to

instructional materials but also school library materials as well.

       The most relevant change to section 1006.28 is the creation of subsection

(2)(a)6. This provision provides:




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  Although the 2023 version of the statute created enumerated categories of
prohibited material, the only material difference between it and the 2022 version of
the statute is the inclusion of subsection b.(II), which added “[d]epict[ions] or
descri[ptions] [of] sexual conduct as defined” by Florida law to the preexisting
prohibited topics.
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      If a parent disagrees with the determination made by the district school
      board on the objection to the use of a specific material, a parent may
      request the Commissioner of Education to appoint a special magistrate
      . . . [who] shall determine facts relating to the school district’s
      determination, consider information provided by the parent and the
      school district, and render a recommended decision for resolution to the
      State Board of Education within 30 days after receipt of the request by
      the parent. The State Board of Education must approve or reject the
      recommended decision at its next regularly scheduled meeting that is
      more than 7 calendar days and no more than 30 days after the date the
      recommended decision is transmitted. . . . The State Board of Education
      shall adopt rules, including forms, necessary to implement this
      subparagraph.

Id. § 1006.28(2)(a)6. Notably, this provision is not limited to “instructional”

material.

      As required by statute, the Florida Department of Education has released the

proposed text for an administrative rule implementing section 1006.28 that explicitly

states the “Types of Materials Potentially Subject to the Special Magistrate Process”

will, save for certain objections to instructional materials, include “parental

objections to any type of material made available to a student in a school library,
                                                                                  8
included on a school, grade, or classroom reading list, or used in a classroom.” Fla.




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  This rule will be titled “Special Magistrate for Materials Used in Classroom or
School Libraries.” Notice of Development of Rulemaking, Notice: 27165546, Fla.
Admin.            Code             &            Fla.           Admin.              Reg.,
https://www.flrules.org/gateway/View_Notice.asp?id=27165546 (last visited Aug.
18, 2023). The Rule’s stated purpose is “[t]o establish a process for parents to request
the appointment of a special magistrate if they disagree with the local decision about
an objection to materials used in school or classroom libraries.” Id.
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Admin. Code R. 6A-1.094126(3)(a) (emphasis added) (text of proposed rule to be

considered for approval by Florida’s State Board of Education on August 23, 2023).

Thus, the statute and implementing regulation remove final decision-making

authority for challenges to library materials from the Board, and place it in the hands

of a special magistrate to make recommendations to the State Board of Education,

the current final decision-maker on book restriction/removal issues. Id. This

forecloses Plaintiffs’ Monell claims and it renders the Parent Plaintiffs’ claims both

moot—as for the Removed Books—and unripe—as for the Targeted Books, and

therefore, the Complaint should be dismissed with prejudice.

             D.     Plaintiffs Lack Standing

      It is axiomatic that all Plaintiffs face insurmountable traceability and

redressability hurdles where they only seek to enjoin a Board policy that no longer

exists. For this reason alone, none of the Plaintiffs have standing. “[I]t goes without

saying that those who seek to invoke the jurisdiction of the federal courts must

satisfy the threshhold [sic] requirement imposed by Article III of the Constitution by

alleging an actual case or controversy.” City of Los Angeles v. Lyons, 461 U.S. 95,

101 (1983). To establish a case or controversy under Article III and satisfy the

threshold standing requirement, “the plaintiff must have a personal stake in the

case.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (cleaned up). “To

demonstrate their personal stake, plaintiffs must be able to sufficiently answer the


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question: ‘“What’s it to you?”’” Id. (quoting Antonin Scalia, The Doctrine of

Standing as an Essential Element of the Separation of Powers, 17 Suffolk U. L. Rev.

881, 882 (1983)). “If ‘the plaintiff does not claim to have suffered an injury that the

defendant caused and the court can remedy, there is no case or controversy for the

federal court to resolve.’” Id. (emphasis added) (quoting Casillas v. Madison Ave.

Assocs., Inc., 926 F.3d 329, 333 (7th Cir. 2019)).

      “Under Article III, federal courts do not adjudicate hypothetical or abstract

disputes. Federal courts do not possess a roving commission to publicly opine on

every legal question. Federal courts do not exercise general legal oversight of the

Legislative and Executive Branches, or of private entities. And federal courts do not

issue advisory opinions. As Madison explained in Philadelphia, federal courts

instead decide only matters ‘of a Judiciary Nature.’” Id. (quoting 2 Records of the

Federal Convention of 1787, p.430 (M. Farrand ed. 1966)). Moreover, “standing is

not dispensed in gross; rather, plaintiffs must demonstrate standing for each claim

that they press and for each form of relief that they seek (for example, injunctive

relief and damages).” Id. at 2208.

                    i.    The Nonprofit Plaintiff

      The Nonprofit Plaintiff alleges it has standing based on organizational injury

and based on associational standing. Compl. at ¶¶ 195, 197. Neither of these pass

scrutiny.


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                           a.     Organizational Standing

      As for organizational standing, the Nonprofit Plaintiff claims “[a]s a

consequence of efforts in Escambia County and elsewhere to remove books from

public school libraries,” it “has had to reallocate significant financial resources and

time to addressing this issue and away from other priorities.” Id. at ¶ 196 (emphases

added). The Nonprofit Plaintiff does not identify where “elsewhere” is nor does it

state what these “other priorities” are that were adversely impacted by the actions of

the Board. Instead, it broadly alleges actions it has been forced to take, but never
                                                                   9
explicitly states these actions were taken because of the Board. Id.

      Although not expressly articulated, it is clear the Nonprofit Plaintiff’s

organizational standing presumes a diversion of resources theory. See id. “To

establish standing under a diversion of resources theory, an organizational plaintiff

must explain where it would have to ‘divert resources away from in order to spend

additional resources on combating’ the effects of the defendant’s alleged conduct.”

Ga. Ass’n of Latino Elected Offs., Inc. v. Gwinnett Cnty. Bd. of Registration &




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  For example, the Nonprofit Plaintiff claims it has had to hire full-time staff to track
and report book removals, support its members’ concerns, and respond to inquiries
from individuals “regarding book removals.” Compl. at ¶ 196. But the Nonprofit
Plaintiff claims to operate “in the United States and around the world” and have
members in every state. Id. at ¶¶ 10-11. Accordingly, its diversion of resources to
these locations—the proverbial “elsewhere”—to combat issues antithetical to its
goals cannot be traced back to the actions of the Board.
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Elections, 36 F.4th 1100, 1114 (11th Cir. 2022) (quoting Jacobson v. Fla. Sec’y of

State, 974 F.3d 1236, 1249-50 (11th Cir. 2020)). Here, the Nonprofit Plaintiff fails

to even attempt to satisfy its pleading obligations in this regard, and this failure sinks

its standing. See Jacobson, 974 F.3d at 1250 (finding organizational plaintiffs’

testimony did not “explain[] what activities [they] would divert resources away from

in order to spend additional resources on combatting [the challenged conduct]”).

      The Nonprofit Plaintiff’s broad allegations also fail because it admits this

diversion is based on actions both within Escambia County and “elsewhere.” Indeed,

the Complaint speaks of the alleged “national campaign to remove books” in which

the Board is purportedly complicit, but clearly not responsible for. See Compl. at ¶¶

43-44, § III.C. The Complaint also decries actions taken by organizations not

affiliated with the Board, e.g., Moms for Liberty. Id. at ¶¶ 44-45. This does not

satisfy the traceability and redressability prongs of the standing analysis. As the

Supreme Court has held, an “injury must be ‘fairly traceable to the challenged action

of the defendant, and not the result of the independent action of some third party not

before the court.’” Ga. Ass’n, 36 F.4th at 1115 (quoting Lujan v. Defs. of Wildlife,

504 U.S. 555, 560-61 (1992) (alterations adopted)).

      The Board cannot be liable for any alleged constitutional injury caused

“elsewhere”; nor can the Board be liable for actions by an independent, third-party

group that does not act as an agent of or arm of the Board. By collapsing its resource


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diversion efforts into these broad claims, the Nonprofit Plaintiff has failed to show

its alleged injury is fairly traceable to the Board. Nor has it shown its injuries will

be redressed by a favorable decision enjoining the Board’s obsolete policy. “The

party invoking federal jurisdiction bears the burden of establishing these elements.”

Lujan, 504 U.S. at 561. The Nonprofit Plaintiff lacks standing in its own right, and

therefore, its claims should be dismissed with prejudice.

                          b.     Associational Standing

      The Nonprofit Plaintiff also claims associational standing “on behalf of its

members.” Compl. at ¶ 197. Specifically, it claims its “affected author-members”

“whose books have been removed from [the Board’s] libraries . . . and/or subjected

to restricted access within [the Board’s] libraries” “would have standing to sue based

on [the Board’s] alleged violations of their rights under the First and Fourteenth

Amendments.” Id. at ¶¶ 197-98. Plaintiffs are mistaken. An organization can

establish associational standing to enforce the rights of their members when “(a) its

members would otherwise have standing to sue in their own right; (b) the interests

it seeks to protect are germane to the organization’s purpose; and (c) neither the

claim asserted nor the relief requested requires the participation of individual

members in the lawsuit.” Greater Birmingham Ministries v. Sec’y of State for Ala.,

992 F.3d 1299, 1316 (11th Cir. 2021). As shown infra, its members lack standing in




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their own right, precluding the Nonprofit Plaintiff’s organizational standing, and

therefore, its claims should be dismissed with prejudice.

                    ii.   The Author Plaintiffs Lack Standing

      The Author Plaintiffs claim to have standing because their books have either

been removed from or subjected to restricted access in the Board’s libraries. Compl.

at ¶ 201. This cannot satisfy Article III requirements.

      The doctrine of standing requires “that a case embody a genuine, live dispute

between adverse parties” by insisting that a litigant “prove that he has suffered a

concrete and particularized injury that is fairly traceable to the challenged conduct,

and is likely to be redressed by a favorable judicial decision.” Carney v. Adams, 141

S. Ct. 493, 498 (2020) (quoting Hollingsworth v. Perry, 570 U.S. 693, 704 (2013));

see also Lujan, 504 U.S. at 560-61. A constitutional injury must not only be concrete

and particularized, but it must also be “actual or imminent.” Lujan, 504 U.S. at 560.

It cannot be “conjectural or hypothetical.” Id. A plaintiff must show more than “an

abstract and generalized harm” to his interest in the proper application of the law, or

it does not count as an injury in fact, and fails to establish standing. Carney, 141 S.

Ct. at 498.

      Here, the removal of books from shelves (or the mere restriction of access)

does not create a constitutional injury. Standing requires “that a party seeking review

must allege facts showing that he is himself adversely affected.” Sierra Club v.


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Morton, 405 U.S. 727, 740 (1972). Books, like trees, do not have standing. See id.

at 741 (Douglas, J., dissenting). And Plaintiffs have not identified, nor have the

undersigned found, any constitutional right to have one’s book on the shelves of a

public school library, regardless of the “wants” of the author or the accolades said

book has received. To be clear, “remov[ing] from its own school libraries a book

that the Board had purchased for those libraries with Board funds” does “not prohibit

anyone else from owning, possessing, or reading the book.” ACLU, 557 F.3d at

1218. To that end, the Author Plaintiffs have no constitutional injury in the removal

or restriction of their books.

      At bottom, the Author Plaintiffs cannot elevate what appear to be, at best, tort
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claims into constitutional injuries. See Cypress Ins. Co. v. Clark, 144 F.3d 1435,

1438 (11th Cir. 1998) (“The Supreme Court’s message . . . is clear and unmistakable:

Section 1983 did not make every tort committed by a state official a violation of

constitutional rights.”); see also Daniels v. Twin Oaks Nursing Home, 692 F.2d

1321, 1331 (11th Cir. 1982) (Hoffman, J., concurring specially) (“While some

conduct may clearly be violative of tort law, it may not be a constitutional injury,

and the proper remedy is not a section 1983 claim . . . .”). The Board “could have

decided not to purchase and shelve [the Author Plaintiffs’ books] in the first place,”



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   The Board concedes no error or liability under any theory, but the Author
Plaintiffs’ attempt to make a federal case out of these allegations misses the mark.
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and “removing a book from one’s own shelves is not book banning either.” ACLU,

557 F.3d at 1218; see also Bd. of Educ. v. Pico, 457 U.S. 853, 921 (1982) (plurality

opinion) (O’Connor, J., dissenting) (“If the school board can set the curriculum,

select teachers, and determine initially what books to purchase for the school library,

it surely can decide which books to discontinue or remove from the school library

so long as it does not also interfere with the right of students to read the material and

to discuss it.”). The Board has not inhibited or prohibited the Author Plaintiffs’

ability to write, market, and sell their books, even to the Board’s students. See ACLU,

557 F.3d at 1219 (“[The Board] did not forbid or prohibit anyone from publishing,

selling, distributing, or possessing the book.”). The mere fact that their books have

been removed or restricted from the Board’s shelves does not give the Author

Plaintiffs standing to challenge the Board’s decisions and their claims should be

dismissed with prejudice.

                    iii.    PRH Lacks Standing

      PRH’s standing is even more tenuous. It claims standing to sue “because

certain of the books it publishes” have been removed or restricted, and “[a]

publisher’s ability to publish and sell books freely is affected when state or local

officials restrict circulation or remove the publisher’s books.” Compl. at ¶ 202. This

is refuted by the factual allegations because the Board has not affected PRH’s ability

to publish or sell its books, nor has it prohibited others from reading, purchasing, or


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even bringing PRH-published book to school. To the contrary, the allegations

conclusively establish the Board has already purchased the publisher’s books.

PRH’s argument, stretched to the breaking point, would create standing if the Board

elected not to purchase its authors’ books at all and would effectively require the

Board to purchase its books under threat of constitutional liability. This strains

credulity.

      PRH, like the Nonprofit Plaintiff, cannot raise its “mere ‘interest in a[n]

[alleged] problem,’ no matter how longstanding the interest and no matter how

qualified the organization is in evaluating the [alleged] problem” into an injury

sufficient to establish Article III standing. Sierra Club, 405 U.S. at 739. “[I]f a

‘special interest’ in this subject were enough to entitle [the Nonprofit Plaintiff and

PRH] to commence this litigation, there would appear to be no objective basis upon

which to disallow a suit by any other bona fide ‘special interest’ organization

however small or short-lived.” Id. “And if any group with a bona fide ‘special

interest’ could initiate such litigation, it is difficult to perceive why any individual

citizen [like the Author Plaintiffs] with the same bona fide special interest would not

also be entitled to do so.” Id. The Constitution requires more. Because there are no

set of facts sufficient to establish its standing, PRH’s claims should also be dismissed

with prejudice.




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                    iv.    The Parent Plaintiffs Lack Standing for Themselves
                           and Their Minor Children

      The Parent Plaintiffs claim standing for themselves and their children because

“both they and their children have been harmed by the book removals and

restrictions.” Compl. at ¶ 203. Closer inspection of the allegations reveal the

infirmities in this claim. The Parent Plaintiffs do not allege any actual harm or injury

due to the Board’s actions. Rather, they merely claim they “would like” or “want”

to access and check out books that have either been removed or restricted. See id. at

¶¶ 24-31, 171-94, 204-10. Not a single Parent Plaintiff, either in their own capacity

or on behalf of their minor children, claims to have unsuccessfully tried to access

any of the removed or restricted books. Instead, their children “would like” and

“want” to check out books no long available and the Parent Plaintiffs “would like”

and “want” their children to have this opportunity. Id.

      While desire is a cognizable interest for purpose of standing, “the ‘injury in

fact’ test requires more. It requires that the party seeking review be himself among

the injured.” Lujan, 504 U.S. at 562-63 (quoting Sierra Club, 405 U.S. at 734-35).

Lujan is instructive here: in finding the plaintiffs’ statements “plainly contain[ed] no

facts” regarding how they would suffer “imminent injury,” the Court noted:

      [T]he affiants’ profession of an “inten[t]” to return to the places they
      had visited before—where they will presumably, this time, be deprived
      of the opportunity to observe animals of the endangered species—is
      simply not enough. Such “some day” intentions—without any
      description of concrete plans, or indeed even any specification

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      of when the some day will be—do not support a finding of the “actual
      or imminent” injury that our cases require.

504 U.S. at 564 (second alteration in original). The Parent Plaintiffs’ “some day”

intentions, either on their own behalf or on behalf of their children, to purportedly

seek access to the removed or restricted books does not support any finding of actual

or imminent injury required to demonstrate standing. Id. Without more, they fail this
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threshold inquiry and their claims should be dismissed. Because of the intervening

law and Board policy change, leave to amend for the Parent Plaintiffs to provide

more specific intent on when they intend to pursue the challenged materials from a

Board library would be futile, and therefore, dismissal with prejudice is appropriate.

             E.    The Board’s Policy and Actions Regarding Challenged
                   Library Materials Constitutes Government Speech

      Even if Plaintiffs had standing and their Complaint were otherwise

procedurally sound, the Complaint should still be dismissed with prejudice because

the Board’s alleged actions constitute government speech, for which Plaintiffs enjoy

no First Amendment or Equal Protection Clause protection.

      The Nonprofit Plaintiff, Author Plaintiffs, and PRH contend the Board

violated their First Amendment rights because “[t]he libraries within the School



11
  The Plaintiff Parents’ insistence that they and their children be allowed to access
these books in the Board’s libraries does not create a constitutional injury. Their
presupposition that the Board is constitutionally obligated to provide what books
they “want” fails scrutiny.
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District constitute, at a minimum, non-public forums” and because the Board

removed or restricted access to their books for “disagreement with their messages or

themes.” Compl. at ¶¶ 218-19. The Parent Plaintiffs contend the same actions

violated the rights of their children “to receive information and ideas” because, they

allege, the Board acted “‘in a narrowly partisan or political manner.’” Id. at ¶ 225.

      Those claims fail as a matter of law because, in public schools, “expression

delivered directly through the government or indirectly through private

intermediaries” is government speech. Bannon v. Sch. Dist. of Palm Beach Cnty.,

387 F.3d 1208, 1213 (11th Cir. 2004). Likewise, “in the case of a public library . . .

there is still government speech . . . . [T]he government speaks through its selection

of which books to put on the shelves and which books to exclude.” ACLU, 557 F.3d

at 1202 (11th Cir. 2009) (alteration in original) (quoting People for the Ethical

Treatment of Animals, Inc. v. Gittens, 414 F.3d 23, 28 (D.C. Cir. 2005)). The

selection of materials in a public-school library therefore adheres to the First

Amendment, as the Free Speech Clause “does not regulate government speech.”

Mech v. Sch. Bd. of Palm Beach Cnty., 806 F.3d 1070, 1074 (11th Cir. 2015)

(quoting Pleasant Grove City v. Summum, 555 U.S. 460, 467 (2009)); see also

Gittens, 414 F.3d at 28. Accordingly, Counts I and II, premised on purported

protections Plaintiffs believe they have under the First Amendment, necessarily fail

because the Free Speech Clause has no applicability to government speech.


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      Count III, Plaintiffs’ equal-protection claim, fails for much the same reason.

“When the government exercises ‘the right to “speak for itself,”’ it can freely ‘select

the views that it wants to express.’” Mech, 806 F.3d at 1074 (quoting Summum, 555

U.S. at 467-68). Thus, as recognized by the Third, Fourth, Fifth, Sixth, and Ninth

Circuits, “the Equal Protection Clause does not apply to government speech.” Fields

v. Speaker of Penn. House of Representatives, 936 F.3d 142, 161 (3d Cir. 2019)

(collecting cases).

      Plaintiffs have not, in any event, adequately “plead[ed] animus,” i.e., they

“must raise a plausible inference that an ‘invidious discriminatory purpose was a

motivating factor’ in the relevant decision.” DHS v. Regents of the Univ. of Cal., 140

S. Ct. 1891, 1915 (2020) (plurality opinion) (quoting Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977)). Plaintiffs allege that “[m]any

of these books have been targeted simply because they address themes relating to

race, sexuality, or gender identity” and, from that, Plaintiffs claim, “[t]he clear intent

is to exclude speech by authors based on their race, sexuality, or gender identity.”

Compl. at ¶ 236. In other words, Plaintiffs allege that the proof of “intent . . . to

exclude speech by authors” of protected classes lies in the Board’s alleged admission

that it “targeted [books] because they address themes relating to race, sexuality or

gender identity.” Id. But a content-based regulation is not an author-based

regulation. And the allegation that the one follows from the other is the kind of


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conclusory assertion that the Court need not accept as true and cannot state a claim

upon which relief may be granted. As such, Count III also fails on these grounds.

             F.     The Parent Plaintiffs and the Nonprofit Plaintiff in Its
                    Associational Capacity Can No Longer Show the Board Is a
                    Final Decision-Maker for Monell Liability Purposes

      As a condition of agency liability, Monell v. Department of Social Services of

City of New York, 436 U.S. 658 (1978), and its progeny require the actions of a final

decision-maker, or an agency custom, policy, or practice be the driving force behind

the constitutional harm. An entity like the Board can only be held liable under 42

U.S.C. § 1983 if it has final decision-making authority over the challenged action.

Hoefling v. City of Miami, 811 F.3d 1271, 1279 (11th Cir. 2016). This is true even

if the subordinate entity has discretion to exercise policymaking decisions, but is still

subject to review by a final decision-maker. See Mandel v. Doe, 888 F.2d 783, 792

(11th Cir. 1989). Section 1006.28(2)(a)6. has removed the Board’s final decision-

making authority regarding parent challenges to library materials and legislatively

reassigned that authority to the Florida Department of Education, after consideration

of the special magistrate’s recommendation. §1006.28(2)(a)6., Fla. Stat. After July

1, 2023, the Board is no longer the final arbiter of which materials will be restricted

or removed from its libraries. Therefore, Plaintiffs’ efforts to enjoin prospective

conduct of the non-final decision-maker Board fails to state a claim for which relief

may be granted under any constitutional theory.


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              G.    Plaintiffs’ Claims Related to the Removed Books Are Moot

      Plaintiffs, first request for relief is that the Court order the Board “restore to

the libraries within the [District] the Removed Books.” Compl. at § VI.A. This

request is moot, given the changes to section 1006.28. That is, because section

1006.28 now takes final decision-making authority out of the Board’s hands, there

is no possibility of the alleged violations recurring; and, because the law now allows

the Parent Plaintiffs and their associational representatives to seek review by a

special magistrate, the effects of the violation have been eradicated because no final

decision as to the Removed Books currently exists, thus removing any finality

regarding the status of the Removed Books.

         “A case can become moot either due to a change in factual circumstances or

due to a change in the law.” BankWest, Inc. v. Baker, 446 F.3d 1358, 1364 (11th Cir.

2006) (cleaned up). “If a lawsuit is mooted by subsequent developments, any

decision a federal court might render on the merits of [the] case would constitute an

[impermissible] advisory opinion.” Nat’l Adver. Co. v. City of Miami, 402 F.3d

1329, 1332 (11th Cir. 2005). “Dismissal of a moot case is required because mootness

is jurisdictional.” Sierra Club v. U.S. Env’t Prot. Ag., 315 F.3d 1295, 1299 (11th Cir.

2002).

         “A claim for injunctive relief may become moot if: (1) it can be said with

assurance that there is no reasonable expectation that the alleged violation will recur


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and (2) interim relief or events have completely and irrevocably eradicated the

effects of the alleged violation.” Reich v. Occupational Safety & Health Rev.

Comm’n, 102 F.3d 1200, 1202 (11th Cir. 1997). The changes to section 1006.28

undoubtedly moot Plaintiffs’ claims for the Removed Books. See id.; cf. Covenant

Christian Ministries, Inc. v. City of Marietta, 654 F.3d 1231, 1239 (11th Cir. 2011)

(“When a party challenges an ordinance and seeks injunctive relief, a superseding

ordinance moots the claim for injunctive relief.”).

      This also falls outside the capable of repetition, yet evading review exception

to mootness because given these legislative changes, there can be no reasonable

expectation that these parties “will be subject to the same action again.” FEC v. Wis.

Right to Life, Inc., 551 U.S. 449, 462 (2007); see also Lyons, 461 U.S. at 109; Carver

Middle Sch. Gay-Straight All. v. Sch. Bd. of Lake Cnty., 842 F.3d 1324, 1330 (11th

Cir. 2016) (finding student’s claim for injunctive relief moot because, in graduating

high school and exiting the district, “the issue, ‘while capable of repetition, certainly

will not recur as to’” that student (quoting Sapp v. Renfroe, 511 F.2d 172, 176 (5th

Cir. 1975))).

      Moreover, while “a defendant’s voluntary cessation of allegedly harmful

activity is [generally] not enough to render a claim moot,” “government entities [like

the Board] have ‘considerably more leeway than private parties in the presumption

that they are unlikely to resume illegal activities.’” Littlejohn v. Sch. Bd. of Leon


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Cnty., --- F. Supp. 3d ----, 2022 WL 18670372, at *3 (N.D. Fla. Dec. 22, 2022)

(quoting Keohane v. Fla. Dep’t of Corr., Sec’y, 952 F.3d 1257, 1267 (11th Cir.

2020)). And while Plaintiffs can rebut this by showing a “substantial likelihood” that

the Board would “reenact a repealed or amended policy,” id., they cannot do so given

the changes to section 1006.28, and the Board’s obligation to follow them. Indeed,

the Complaint admits as much, noting the Board has already amended the policy

Plaintiffs allege violates the Constitution. Compl. at § IV.K. As the Eleventh Circuit

has noted, a “similar pronouncement” akin to statutory amendment “is ordinarily

one of those events that makes it absolutely clear that the allegedly wrongful

behavior could not reasonably be expected to recur.” Keohane, 952 F.3d at 1268

(cleaned up). The Board’s amended policy—and the creation of the special

magistrate process—means the allegedly wrongful behavior cannot reasonably be

expected to recur, thus mooting Plaintiffs’ claims for the Removed Books.

             H.    Plaintiffs’ Claims Related to the Targeted Books Are Not
                   Ripe

      Plaintiffs’ second request for relief is that the Court order the Board “restore

the Targeted Books currently subject to restricted access to their previous status.”

Compl. at § VI.B. This demand is not ripe for adjudication. Given the changes to

section 1006.28, the Parent Plaintiffs and their associational representatives have

another avenue of redress—the special magistrate procedure—that they have not yet



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utilized. As such, any claims about books whose access has been restricted are not

final or concrete enough for this Court to pass judgment upon.

      The inquiry of ripeness “focuses on whether [a] claim is sufficiently mature,

and the issues sufficiently defined and concrete, to permit effective decision-making

by the court.” Restigouche, Inc. v. Town of Jupiter, 59 F.3d 1208, 1212 (11th Cir.

1995). “The purpose of the ripeness doctrine is ‘to prevent the courts, through

avoidance of premature adjudication, from entangling themselves in abstract

disagreements.’” Id. (quoting Abbott Lab’ys. v. Gardner, 387 U.S. 136, 149 (1967)).

“[R]ipeness is a constitutional, jurisdictional prerequisite” to injunctive relief. Int’l
                                                                 12
Tape Mfrs. Ass’n v. Gerstein, 494 F.2d 14, 27 (5th Cir. 1974).

      Any claim for injunctive relief regarding books that have not cycled through

the full statutory process in place for challenged materials is premature, and this

Court’s involvement would amount to unnecessary judicial entanglement. Here,

there can be no question as to the ripeness problem because “it would strain credulity

to say that there is a credible threat that Plaintiffs’ First [or Fourteenth] Amendment

rights will be violated” as regards the Targeted Books. Elend v. Basham, 471 F.3d

1199, 1211 (11th Cir. 2006). As the Complaint concedes, the Board has made no




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  Decisions of the Fifth Circuit Court of Appeals decided prior to September 30,
1981, are binding precedent within the Eleventh Circuit. Bonner v. City of Prichard,
661 F.2d 1206, 1207 (11th Cir. 1981).
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final judgment on these books. See Compl. at ¶ 104 (noting Targeted Books “are

currently under review”). And even if the Board were to order these books removed,

Plaintiffs can seek review by a special magistrate, for ultimate adjudication by the

State Board of Education, not the Board, as prescribed in section 1006.28.

“Currently, there is no binding and conclusive administrative decision to be

reviewed,” making it “necessary to permit the administrative review process to fully

run its course and to defer any litigation until more concrete actions have been taken

by the [Board and other final decision-makers].” Moore v. Navy Pub. Works Ctr.,

139 F. Supp. 2d 1349, 1355 (N.D. Fla. 2001). “When a case involving prospective

relief provides a court with no factual assurance that future injury is likely and no

clues about its contours should such an injury arise, [the court] [is] left with only the

faintest picture of a possible constitutional transgression occurring someday,

somewhere in this country. Such a claim is not fit for adjudication by this Court.”

Elend, 471 F.3d at 1211-12. Plaintiffs’ claims for the Targeted Books are not ripe,

and should be dismissed.

             I.     Count II – Plaintiffs Erroneously Allege a “Right to Receive”
                    that Is Not Recognized in This Circuit

      Plaintiffs’ second count claims their purported right to receive information

has been violated. Plaintiffs’ problem is that the case they rely on, Pico, “is of no

precedential value as to the application of the First Amendment to these issues.”

ACLU, 557 F.3d at 1200 (quoting Muir v. Ala. Educ. Tele. Comm’n, 688 F.2d 1033,

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1045 n.30 (5th Cir. 1982)). That is, “Pico is a non-decision so far as precedent is

concerned. It establishes no standard.” Id. Count II rests on “a badly fractured

decision” that “failed to attract a majority,” and in fact included “four dissenters,

who were of the opinion that the First Amendment placed no limits on a school

board’s power to remove books from school libraries.” Id. at 1199, 1200, 1202.

      To the extent Plaintiffs urge this Court to adopt Pico’s standard, prudential

reasons counsel against it: “[w]ith five different opinions and no part of any of them

gathering five votes from among the nine justices,” id. at 1200, judicial restraint

should be exercised. See Digit. Props., Inc. v. City of Plantation, 121 F.3d 586, 589

(11th Cir. 1997) (“Even when the constitutional minimum has been met,

however, prudential considerations may still counsel judicial restraint.” (citation

omitted)). Here, given the “potential or abstract” nature of the purported right to

receive information, any decision this Court could render would be an

“impermissible advisory opinion[].” Club Madonna, Inc. v. City of Miami Beach,

924 F.3d 1370, 1379-80 (11th Cir. 2019) (quoting Nat’l Adver. Co., 402 F.3d at

1339). Therefore, this Court should reject Plaintiffs’ efforts to base a First

Amendment claim on a right not recognized by either the Supreme Court or Eleventh
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Circuit, and dismiss.



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   And to the extent the Court may recognize such a right, nothing the Board is
alleged to have done can reasonably be said to have impeded this right. Parents and
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             J.     Count III – Plaintiffs Have Failed to State a Claim under the
                    Fourteenth Amendment’s Equal Protection Clause

      Finally, Count III fails to state a claim under the Fourteenth Amendment’s

Equal Protection Clause. “The Equal Protection Clause is essentially a direction that

all persons similarly situated should be treated alike, and simply keeps governmental

decision-makers from treating differently persons who are in all relevant respects

alike.” Adams ex rel. Kasper v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 801 (11th

Cir. 2022) (en banc) (cleaned up). Plaintiffs do not identify with particularity the

class of individuals the Board purportedly discriminated against, instead alleging in

conclusory fashion the Board has violated this Clause based on actions against “non-

white and/or LGBTQ authors, and/or books that explore themes relating to race,

gender, or sexual orientation.” Compl. at ¶ 234 (emphases added). This

amalgamation of classes apparently includes scrutiny based on race, sex, gender, or

sexual orientation, and thus captures every human being alive, which is no class at

all. Moreover, Plaintiffs’ attempt to equate the content of books to the class status of
                          14
its authors is unavailing.     Beyond this, Plaintiffs’ efforts to establish class-based



their children are free to read, access, purchase, and bring to school the challenged
books, they just cannot obtain them from the Board’s libraries (or do so without
restriction as the case may be).
14
   Plaintiffs identify some, but not all, races within the named Plaintiffs, some, but
not all, sexual orientations within the named Plaintiffs, and some, but not all, genders
within the named Plaintiffs. Compl. at ¶¶ 14-19, 25-31. The Board is severely
prejudiced in responding to Plaintiffs’ allegations given these pleading failures.
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animus based on the regulated content of the books, is unpersuasive and

unsupportable. See Section III.E., supra.

      WHEREFORE, Defendant, Escambia County School Board, requests an

order dismissing Plaintiffs’ Amended Complaint, with prejudice, and for any such

other relief that this Court deems just and proper.

      CERTIFICATE IN ACCORDANCE WITH LOCAL RULE 7.1(B)

      Undersigned counsel certifies that they have conferred with counsel for

Plaintiffs and said counsel object to the relief requested herein.

                          CERTIFICATE OF WORD COUNT

      The undersigned certify that this Memorandum complies with the word count

limitation set forth in Local Rule 7.1(F) because this Memorandum contains 7,990

words, excluding the parts exempted by said Local Rule.

                                 Respectfully submitted,




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                              /s J. David Marsey
                              J. DAVID MARSEY
                              Florida Bar No.: 0010212
                              E-mail: dmarsey@rumberger.com
                              NICOLE SIEB SMITH
                              Florida Bar No.: 0017056
                              E-mail: nsmith@rumberger.com
                              JEFFREY J. GROSHOLZ
                              Florida Bar No.: 1018568
                              E-mail: jgrosholz@rumberger.com
                              RUMBERGER, KIRK & CALDWELL, P.A.
                              101 North Monroe Street
                              Suite 1050
                              Tallahassee, Florida 32301
                              Tel: 850.222.6550
                              Fax: 850.222.8783
                              Attorneys for Defendants


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 21, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to the following:      Shalini Goel Agarwal at

shalini.agarwal@protectdemocracy.org,             Lynn   B.       Oberlander     at

oberlanderl@ballardspahr.com,           Kamera           E.            Boyd      at

boydk@ballardspahr.com, Paul J. Safier at safierp@ballardspahr.com, Shawn

F.   Summers     at   summeerss@ballardspahr.com,             Kristy    Parker   at

kristy.parker@protectdemocracy.org,         and      John         Langford       at

john.langford@protectdemocracy.org (Counsel for Plaintiffs).

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                             /s J. David Marsey
                             J. DAVID MARSEY
                             Florida Bar No.: 0010212
                             E-mail: dmarsey@rumberger.com
                             NICOLE SIEB SMITH
                             Florida Bar No.: 0017056
                             E-mail: nsmith@rumberger.com
                             JEFFREY J. GROSHOLZ
                             Florida Bar No.: 1018568
                             E-mail: jgrosholz@rumberger.com
                             RUMBERGER, KIRK & CALDWELL, P.A.
                             101 North Monroe Street
                             Suite 1050
                             Tallahassee, Florida 32301
                             Tel: 850.222.6550
                             Fax: 850.222.8783
                             Attorneys for Defendants




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